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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

IN RE:
                                                    Case No. 19-11344-JDL
VICTOR S CRAMER and
SHEILA L CRAMER,                                    Chapter 13

                                Debtor(s)

                             AMENDMENT TO SCHEDULES

         Summary of Schedules and Statistical Summary – Amended to accurately reflect the
         Schedules
         Schedule C – Amended to remove the erroneously listed exemption on Debtors’ home

                                                        Respectfully submitted,

                                                        /s/ David K. Hilbern
                                                        David K. Hilbern, OBA No. 18941
                                                        Cain Law Office
                                                        10415 Greenbriar Place, Suite A
                                                        PO Box 892098
                                                        Oklahoma City, OK 73189
                                                        Telephone: (405) 759-7400
                                                        Facsimile: (405) 759-7424
                                                        Email: david@hilbernlaw.com
                                                        ATTORNEY FOR DEBTOR(S)


              CERTIFICATE OF MAILING/ELECTRONIC TRANSMISSION

        I hereby certify that on the 21st day of August 2019 a true and correct copy of the
Amendments was electronically served on the following using the CM/ECF system to the Office
of the United States Trustee; and John Hardeman, Chapter 13 Trustee; and Emily R. Coughlin,
attorney for Auto Advantage Finance, LLC.


                                                 /s/ David Hilbern
                                                 David Hilbern
                                         Case: 19-11344                        Doc: 28               Filed: 08/21/19                    Page: 2 of 6

 Fill in this information to identify your case:

 Debtor 1                   Victor S Cramer
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Sheila L Cramer
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF OKLAHOMA

 Case number           19-11344
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             100,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              29,990.49

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             129,990.49

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $             124,046.32

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $              54,174.01

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $              72,388.64


                                                                                                                                     Your total liabilities $                   250,608.97


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                5,599.90

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                2,739.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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                                      Case: 19-11344                 Doc: 28     Filed: 08/21/19              Page: 3 of 6
 Debtor 1      Victor S Cramer
 Debtor 2      Sheila L Cramer                                                            Case number (if known) 19-11344
             the court with your other schedules.

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $       7,032.06


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            54,174.01

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            29,717.86

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             83,891.87




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                Victor S Cramer
                         First Name                         Middle Name                     Last Name

 Debtor 2                Sheila L Cramer
 (Spouse if, filing)     First Name                         Middle Name                     Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF OKLAHOMA

 Case number           19-11344
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      2014 Ford Fiesta 60000 miles                                                                                               Okla. Stat. tit. 31, § 1(A)(13)
      VIN #3FADP4TJ0EM183452
                                                                      $8,018.92                                        $0.00
      Line from Schedule A/B: 3.1                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      2016 Toyota Camry 68000 miles                                                                                              Okla. Stat. tit. 31, § 1(A)(13)
      VIN #4T1BF1FKXGU523143
                                                                     $15,809.57                                        $0.00
      Line from Schedule A/B: 3.2                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      Miscellaneous household goods                                                                                              Okla. Stat. tit. 31, § 1(A)(3)
      Line from Schedule A/B: 6.1
                                                                          $600.00                                   $600.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit

      three TVs, laptop, three cell phones,                                                                                      Okla. Stat. tit. 31, § 1(A)(3)
      PS4
                                                                          $525.00                                   $525.00
      Line from Schedule A/B: 7.1                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      rifle                                                                                                                      Okla. Stat. tit. 31, § 1(A)(14)
      Line from Schedule A/B: 10.1
                                                                           $10.00                                    $10.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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 Debtor 1    Victor S Cramer
 Debtor 2    Sheila L Cramer                                                                             Case number (if known)     19-11344
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Miscellaneous clothing                                                                                                       Okla. Stat. tit. 31, § 1(A)(7)
     Line from Schedule A/B: 11.1
                                                                         $200.00                                  $200.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Miscellaneous jewelry                                                                                                        Okla. Stat. tit. 31, § 1(A)(7)
     Line from Schedule A/B: 12.1
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     wedding ring                                                                                                                 Okla. Stat. tit. 31, § 1(A)(8)
     Line from Schedule A/B: 12.2
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Bank of America                                                                                                    Okla. Stat. tit. 12, § 1171.1;
     Line from Schedule A/B: 17.1
                                                                          $60.00                                   $60.00
                                                                                                                                  Okla. Stat. tit. 31, § 1(A)(18)
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: First Fidelity                                                                                                     Okla. Stat. tit. 12, § 1171.1;
     Line from Schedule A/B: 17.2
                                                                         $900.00                                  $900.00
                                                                                                                                  Okla. Stat. tit. 31, § 1(A)(18)
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Pension: FERS                                                                                                                Okla. Stat. tit. 31, § 1(A)(20)
     Line from Schedule A/B: 21.1
                                                                         $847.00                                  $847.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Thrift Saving: TSP                                                                                                           Okla. Stat. tit. 31, § 1(A)(20)
     Line from Schedule A/B: 21.2
                                                                      $1,900.00                                 $1,900.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): 401(k)                                                                                                               Okla. Stat. tit. 31, § 1(A)(20)
     Line from Schedule A/B: 21.3
                                                                         $900.00                                  $900.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                    Victor S Cramer
                             First Name                     Middle Name             Last Name

 Debtor 2                    Sheila L Cramer
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF OKLAHOMA

 Case number              19-11344
 (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

         Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Victor S Cramer                                                       X   /s/ Sheila L Cramer
              Victor S Cramer                                                           Sheila L Cramer
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       August 21, 2019                                                Date    August 21, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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